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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
v.
MARK JEFFERSON LEFFINGWELL,

Defendant.

CRIMINAL NO.
MAGISTRATE NO. 21-MJ-007

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. §§ 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers or Employees)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building)

40 U.S.C. § 5104(e)(2)(D)

(Violent Entry and Disorderly Conduct in
a Capitol Building)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Building)

INDICTMENT

The Grand Jury charges that:

COUNT ONE

On or about January 6, 2021, in the District of Columbia, MARK JEFFERSON

LEFFINGWELL, committed, and attempted to commit, an act to obstruct, impede, and interfere

with a law enforcement officer lawfully engaged in the lawful performance of his official duties

incident to and during the commission of a civil disorder, and the civil disorder obstructed,

delayed, and adversely affected the conduct and performance of a federally protected function,
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namely the, certification of the Electoral College of the 2020 Presidential Election by a
joint session of Congress.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, in the District of Columbia, MARK JEFFERSON
LEFFINGWELL, did unlawfully, knowingly, and intentionally forcibly assault, resist, oppose,
impede, intimidate, or interfere with United States Capitol Police Officer Daniel Amendola, a
person designated in section 1114 of Title 18, United States Code, while Officer Amendola was
engaged in or on account of the performance of his official duties.

(Assaulting, Resisting, or Impeding Certain Officers or Employees, in violation of
Title 18, United States Code, Section 111(a)(1))

COUNT THREE
On or about January 6, 2021, in the District of Columbia, MARK JEFFERSON
LEFFINGWELL, did unlawfully, knowingly, and intentionally forcibly assault, resist, oppose,
impede, intimidate, or interfere with United States Capitol Police Officer Wyatt Hart, a person
designated in section 1114 of Title 18, United States Code, while Officer Hart was engaged in or
on account of the performance of his official duties.

(Assaulting, Resisting, or Impeding Certain Officers or Employees, in violation of
Title 18, United States Code, Section 111(a)(1))
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COUNT FOUR
On or about January 6, 2021, in the District of Columbia, MARK JEFFERSON
LEFFINGWELL, knowingly entered and remained in the United States Capitol, a restricted
building, without lawful authority to do so.

(Entering and Remaining in a Restricted Building, in violation of Title 18, United States
Code, Section 1752(a)(1))

COUNT FIVE
On or about January 6, 2021, in the District of Columbia, MARK JEFFERSON
LEFFINGWELL, knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engaged in disorderly and disruptive conduct in, and
within such proximity to, the United States Capitol, a restricted building, when, and so that, such
conduct did in fact impede and disrupt the orderly conduct of Government business and official
functions.

(Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
United States Code, Section 1752(a)(2))

COUNT SIX

On or about January 6, 2021, in the District of Columbia, MARK JEFFERSON

LEFFINGWELL, willfully and knowingly engaged in disorderly and disruptive conduct in any

of the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a
session of Congress or either House of Congress.

(Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(D))
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COUNT SEVEN
On or about January 6, 2021, in the District of Columbia, MARK JEFFERSON
LEFFINGWELL, engaged in an act of physical violence in a Capitol Building.

(Act of Physical Violence in a Capitol Building, in violation of Title 40, United States
Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.
Michal Dhomuin/ JS
Attorney of the United States in
and for the District of Columbia.
